Case 2:24-cv-04055-JXN-LDW Document 83 Filed 07/25/24 Page 1 of 3 PageID: 618




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA, et al.,

                           Plaintiffs,

                    v.                                Case No. 2:24-cv-04055 (JXN) (LDW)

 APPLE INC.,

                           Defendant.


                STIPULATION AND ORDER RE BRIEFING SCHEDULE
               ON MOTION TO DISMISS FIRST AMENDED COMPLAINT

       Plaintiffs United States of America, and the State of New Jersey, State of Arizona, State

of California, District of Columbia, State of Connecticut, State of Indiana, State of Maine,

Commonwealth of Massachusetts, State of Michigan, State of Minnesota, State of Nevada, State

of New Hampshire, State of New York, State of North Dakota, State of Oklahoma, State of

Oregon, State of Tennessee, State of Vermont, State of Wisconsin, and State of Washington,

acting by and through their respective Attorneys General (collectively with the United States of

America, “Plaintiffs”), and Defendant Apple Inc. (“Defendant”), hereby stipulate as follows:

       WHEREAS, Plaintiffs filed their First Amended Complaint on June 11, 2024 (ECF No.

51);

       WHEREAS, during the Pre-Motion Conference, the Court ordered the parties to submit a

briefing schedule on Defendant’s forthcoming motion to dismiss the First Amended Complaint

pursuant to Fed. R. Civ. P. 12 (ECF No. 79);




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Case 2:24-cv-04055-JXN-LDW Document 83 Filed 07/25/24 Page 2 of 3 PageID: 619




       THEREFORE, in the interest of efficiency, the parties agree and stipulate to the

following schedule:

       1. Defendant will file its motion to dismiss the First Amended Complaint on August 1,

          2024;

       2. Plaintiffs will file their opposition to the motion to dismiss on September 12, 2024;

       3. Defendant will file its reply in support of its motion to dismiss on October 10, 2024;

          and

       4. The parties respectfully request that the Court hold a hearing on the motion to dismiss

          at its earliest convenience.



 Dated: July 24, 2024                               /s/ Jonathan H. Lasken
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                                                    Attorneys for Plaintiff United States of
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 Dated: July 24, 2024                               /s/ Isabella R. Pitt
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                                                    Attorneys for Plaintiff State of New Jersey

 Dated: July 24, 2024                               /s/ Justin Moor
                                                    Justin Moor
                                                    Assistant Attorney General

                                                2
Case 2:24-cv-04055-JXN-LDW Document 83 Filed 07/25/24 Page 3 of 3 PageID: 620




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                                          Attorneys for Defendant Apple Inc.


 IT IS SO ORDERED.

 Dated: July 25, 2024                         __________________________
                                                JULIEN XAVIER NEALS
                                               United States District Judge




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